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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

MAZEN FARES,

       Plaintiff,

v.                                                              Case No: 8:18-cv-1613-T-36JSS

CAPITAL ONE BANK (USA), N.A.,

      Defendant.
___________________________________/

                                            ORDER

       Before the Court is the Joint Stipulation of Dismissal with Prejudice (Doc. 22). In accord

with the Joint Stipulation of Dismissal with Prejudice, it is ORDERED AND ADJUDGED as

follows:

       1)      The Joint Stipulation of Dismissal with Prejudice is APPROVED (Doc. 22).

       2)      This cause is dismissed, with prejudice. Each party shall bear its own attorneys’

fees, costs and expenses.

       3)      The Clerk is directed to close this case.

       DONE AND ORDERED in Tampa, Florida on March 18, 2019.




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Counsel of Record
